Case 2:20-cv-20268-MCA-AME Document 43 Filed 08/25/22 Page 1 of 1 PageID: 397




August 25, 2022

VIA ECF

Hon. Andre M. Espinosa
United States District Court, District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street Room MLK 2D
Newark, NJ 07101

RE:    Sharma v. Liu
       Docket No. 2:20-cv-20268-MCA-MAH

Dear Judge Espinosa:

       Please be advised that the parties in the above matter have entered into a confidential
settlement agreement to resolve all claims. Dismissal papers will be filed with the Court in short
order.

       Your Honor’s assistance in guiding the parties to a resolution is greatly appreciated. Thank
you.

Respectfully submitted,


 /s/Samuel B. Fineman                             /s/Elena Fast
 SAMUEL B. FINEMAN, ESQUIRE                       ELENA FAST, ESQUIRE
 Counsel for Plaintiff, Pankaj Sharma             Counsel for Defendant, Vivian Liu
